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                    UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                Case No. 09-cr-88-01/05-SM

Juan Garcia Hernandez, et al



                                     ORDER

      Defendant's motion to continue the trial for sixty days (document no. 57) is

granted. No further continuances will be granted absent extraordinary circumstances.

Trial has been rescheduled for the October trial period. Defendant shall file a Waiver

of Speedy Trial Rights not later than July 23, 2009. On the filing of such waiver, his

continuance shall be effective.

      The court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendant in a speedy trial, 18 U.S.C.

§ 3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny

the defendant the reasonable time necessary for effective preparation taking into

account the exercise of due diligence under the circumstances.
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      Final Pretrial Conference:       October 13, 2009 at 4:00 PM

      Jury Selection:                  October 20, 2009 at 9:30 AM

      SO ORDERED.



July 13, 2009                          _________________________
                                        Steven J. McAuliffe
                                        Chief Judge

cc: Counsel of Record
    U. S. Probation
    U. S. Marshal




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